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10   and ROBERTS SPACE INDUSTRIES CORP.
11                            UNITED STATES DISTRICT COURT
12                           CENTRAL DISTRICT OF CALIFORNIA
13
     CRYTEK GMBH,                              )   Case No. 2:17-CV-08937
14                                             )
                                               )
15              Plaintiff,                     )   [HON. DOLLY M. GEE]
          vs.                                  )
16                                             )
                                               )   DECLARATION OF ORTWIN
17   CLOUD IMPERIUM GAMES CORP. and            )   FREYERMUTH IN SUPPORT OF
     ROBERTS SPACE INDUSTRIES CORP.,           )   DEFENDANTS’ MOTION FOR A
18                                             )
                                               )   BOND PURSUANT TO CAL. CIV.
19              Defendants.                    )   P. CODE § 1030
                                               )
20                                             )
                                               )   Date:      April 26, 2019
21                                             )   Time:      9:30 AM
                                               )   Courtroom: 8C
22                                             )
                                               )
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       DECL. OF O. FREYERMUTH ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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 1         I, ORTWIN FREYERMUTH, declare as follows:
 2         1.    I am the Co-Founder, Vice Chairman, and General Counsel of Cloud
 3   Imperium Games Corp. and Roberts Space Industries Corp. (together, “CIG” or
 4   “Defendants”), the defendants in the above-captioned action.
 5         2.    I make this declaration in support of CIG’s Motion for a Bond Pursuant to
 6   California Code of Civil Procedure section 1030 (the “Motion”). I make this declaration
 7   on the basis of personal knowledge, except where indicated otherwise.
 8                         Star Citizen, Squadron 42, and CryEngine
 9         3.    I have been at CIG since its inception.
10         4.    Since 2012, CIG has been developing the video games Star Citizen and
11   Squadron 42.
12         5.    Star Citizen will be an online, multiplayer space adventure, trading, and
13   dogfighting game.
14         6.    Squadron 42 will be a story-driven, single-player campaign set in the Star
15   Citizen universe.
16         7.    Only preliminary, so-called “alpha modes” of Star Citizen have been
17   released. No part of Squadron 42 has been released. Both games remain in development.
18   CIG maintains the source code for Squadron 42 in the same code base as Star Citizen.
19         8.    When CIG began to develop the games, it elected to use plaintiff Crytek
20   GmbH’s (“Crytek”) CryEngine video game development platform. CIG and Crytek
21   entered into a Game License Agreement (“GLA”) dated November 20, 2012, a true and
22   correct copy of which is attached hereto as Exhibit 1.
23                                 The Switch to Lumberyard
24         9.    By an agreement dated April 30, 2016, Amazon granted CIG a license to use
25   in Star Citizen and Squadron 42 not only Lumberyard, but also the version of CryEngine
26   that was then embedded in the games’ source code. Following execution of the Amazon
27   license, CIG began developing the games under the Amazon license. When CIG releases
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       DECL. OF O. FREYERMUTH ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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 1   Squadron 42 to the public, the game engine source code will be licensed under this
 2   Amazon agreement, not the GLA.
 3         10.    Attached hereto as Exhibit 2 is a true and correct copy of a press release
 4   issued by CIG on December 23, 2016, entitled “Star Citizen and Squadron 42 Utilize
 5   Amazon Lumberyard Game Engine,” which I obtained from
 6   https://robertsspaceindustries.com/comm-link/press/15660-star-citizen-and-squadron-42-
 7   utilize-amazon-lumberyard-game-engine.
 8                                   Pre-Selling of Squadron 42
 9         11.    Attached hereto as Exhibit 3 is a true and correct copy of a press release
10   issued by CIG on January 29, 2016, entitled “Roundup: Free Fly, 2.1.2 Patch and Other
11   Updates!,” which I obtained from https://robertsspaceindustries.com/comm-
12   link/transmission/15178-Roundup-Free-Fly-212-Patch-And-Other-Updates.
13         12.    During a February 5, 2016 phone call, I clarified to Crytek’s general counsel
14   that CIG still planned to make Squadron 42 available only through the Star Citizen game
15   client. Crytek’s general counsel confirmed to me that the GLA allows CIG to sell a
16   module like Squadron 42 separately as long as players could access the module only
17   through the Star Citizen game client.
18         13.    Attached hereto as Exhibit 4 is a true and correct copy of an email that I
19   sent to Crytek’s general counsel on February 7, 2016, memorializing our telephone
20   conversation and confirming that CIG would publish a corrective statement to clarify that
21   Squadron 42 would remain functionally tied to Star Citizen and only accessible through
22   the Star Citizen game client.
23         14.    Attached hereto as Exhibit 5 is a true and correct copy of that clarification:
24   a press release issued by CIG on February 8, 2016 entitled “Package Split Information,”
25   which I obtained from https://robertsspaceindustries.com/comm-link/transmission/15189-
26   Package-Split-Information. CIG began pre-selling Squadron 42 as a separate unit on
27   February 14, 2016.
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 1             15.   Crytek did not raise any further objections and CIG considered the matter
 2   closed until Crytek filed this lawsuit almost two years later.
 3                                        Delivery of Bug Fixes
 4             16.   Attached hereto as Exhibit 6 is a true and correct copy of an email chain
 5   dated from November 16, 2015 to December 4, 2015 between me and Crytek’s general
 6   counsel regarding Crytek’s request to CIG for bug fixes and optimizations pursuant to
 7   GLA paragraph 7.3.
 8             17.   Attached hereto as Exhibit 7 is a true and correct copy of the “delivery
 9   notice” I drafted that was an attachment to the December 4, 2015 email included in
10   Exhibit 6 to this declaration.
11             18.   Crytek did not respond, much less object, to CIG’s tender on December 4,
12   2015.
13             19.   Attached hereto as Exhibit 8 is a true and correct copy of a letter dated
14   November 24, 2016 that I received from Crytek, demanding delivery of the bug fixes.
15             20.   Attached hereto as Exhibit 9 is a true and correct copy of a letter dated
16   November 30, 2016 that I sent to Crytek, re-tendering delivery of the bug fixes.
17             21.   Crytek again did not object to CIG’s tender on November 30, 2016.
18             22.   Attached hereto as Exhibit 10 is a true and correct copy of a letter dated
19   December 2, 2016 that I received from Crytek in response to my November 30, 2016
20   letter.
21             23.   Attached hereto as Exhibit 11 is a true and correct copy of a letter dated
22   June 22, 2017 that I received from Crytek.
23             24.   Because Crytek refused to sign the requested delivery notice confirming that
24   it would maintain CIG’s proprietary non-engine game code in confidence, CIG proceeded
25   to undertake the complex task of separating its game code from the engine code and
26   preparing it as a compilable version.
27             25.   Upon completion, on January 23, 2018, CIG delivered and Crytek accepted
28   the bug fixes without condition. Attached hereto as Exhibit 12 is a true and correct copy
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       DECL. OF O. FREYERMUTH ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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 1   of the transmittal letter, dated January 23, 2018, that CIG’s counsel delivered to Crytek’s
 2   counsel with the bug fixes.
 3         26.    CIG has heard nothing from Crytek regarding the bug fixes since that time.
 4                                       Crytek’s Credits
 5         27.    On December 23, 2016, with CIG’s release of “alpha” build version 2.6 of
 6   Squadron 42, CIG replaced Crytek’s copyright and trademark notices on the Star Citizen
 7   credits splash screen with the Amazon Lumberyard copyright and trademark notices. By
 8   that time, CIG had already entered into, and was developing both Star Citizen and
 9   Squadron 42 under CIG’s license agreement with Amazon.
10         28.    Crytek alleges that CIG’s removal of the Crytek and CryEngine copyright
11   and trademark notices from Star Citizen’s credits splash screen resulted in loss of
12   “promotional consideration.”
13         29.    Crytek’s claimed damage is belied by the fact that Crytek has been trying to
14   disassociate itself from CIG and Star Citizen since 2015.
15         30.    I personally saw on YouTube that Crytek prominently featured CIG, RSI,
16   and Star Citizen in its 2013 and 2014 “Developer Showcase” videos that, upon
17   information and belief, Crytek exhibited at the Game Developers Conference (“GDC”),
18   an annual gathering of game development professionals held in March in San Francisco,
19   California, which I attended. GDC is one of the gaming industry’s most important trade
20   shows and one of the largest gatherings of game development professionals each year.
21         31.    I also personally saw on YouTube that Crytek omitted Star Citizen from its
22   2015 “Developer Showcase” video. After January 22, 2015, to the best of my
23   knowledge, Crytek never again featured CIG, RSI, or Star Citizen in any of its social
24   media, marketing, or promotional campaigns.
25                                    “Bugsmashers” Videos
26         32.    The “Bugsmashers” videos feature a CIG software engineer walking through
27   how he addresses coding errors identified in the game. The videos often show footage of
28   the engineer’s screen as he addresses bugs in the code.
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       DECL. OF O. FREYERMUTH ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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 1         33.    On information and belief, any snippets of CryEngine source code displayed
 2   in “Bugsmashers” videos would carry no independent utility. This is because CryEngine
 3   is a massively complex computer program comprising millions of lines of interdependent
 4   code and thousands of files divided among many different modules that all need to work
 5   in tandem to accomplish the various tasks that make a modern video game work.
 6                                           Faceware
 7         34.    On August 25, 2017, CIG announced that it had entered into an agreement
 8   with Faceware Technologies, Inc. (“Faceware”) for CIG to use Faceware’s facial
 9   animation and motion capture technology in Star Citizen.
10         35.    To the best of my knowledge, CIG never provided Faceware with access to
11   the CryEngine source code in any way. I confirmed this fact with CIG’s Technical
12   Director-Content, who directly supervises CIG’s technical collaboration with Faceware.
13                                Expert Source Code Analysis
14         36.    The source code for CryEngine, Star Citizen/Squadron 42, and Amazon
15   Lumberyard comprises thousands of files and millions of lines of code.
16         37.    Crytek’s claims related to Squadron 42, the bug fixes, and the
17   “Bugsmashers” videos likely will require source code analysis by expert software
18   engineers.
19

20         I declare under penalty of perjury that the foregoing is true and correct.
21         Executed on March 28, 2019 at Los Angeles, California.
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                                              ORTWIN FREYERMUTH
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       DECL. OF O. FREYERMUTH ISO DEFS.’ MOT. FOR A BOND PURSUANT TO CCP § 1030
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